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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
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3    SACRAMENTO, CA 95814
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5    Attorney for Defendant
     Gurminder Singh
6

7                               IN THE UNITED STATES DISTRICT COURT
8                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                               )   Case No.: Cr.S-06-0238-MCE
                                                             )
11                     Plaintiff,                            )   STIPULATION AND ORDER TO
                                                             )   CONTINUE STATUS CONFERENCE
12            vs.                                            )
                                                             )   DATE: November 29, 2007
13   JASWANT KAUR, SUCHA SINGH,                              )   TIME: 9:00 a.m.
     ARJINDER SINGH and GURMINDER                            )   Hon. Morrison C. England, Jr.
14                                                           )
     SINGH,
                                                             )
15                                                           )
                    Defendants.
                                                             )
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17            Defendants, by and through their undersigned counsel, and the United States of

18   America, through Assistant United States Attorney Mary L. Grad, hereby agree and stipulate

19   to continue the status conference in the above captioned case from November 29, 2007 to

20   January 24, 2008 at 9:00 a.m.1 to allow counsel for Defendants additional time to prepare

21   and discuss resolution with counsel for the Government, and upon such discussions advise

     Defendants regarding the ramifications of the Government’s proposal to resolve this case.
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      The parties have been advised by this Court’s Clerk that January 24, 2008 at 9:00 a.m. is an available date and time
     for a status conference on this matter.
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1               For these reasons, the parties stipulate and request that the Court exclude time within
2
     which the trial must commence under the Speedy Trial Act from November 29, 2007
3
     through January 24, 2008, for the defense preparation under 18 U.S. C. § 3161(h)(8)(B)(iv)
4
     (Local Code T4).
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                Dated: November 28, 2007,                     Respectfully submitted,
6
                                                              /s/ Mary L. Grad2
7                                                             MARY L. GRAD
                                                              Assistant United States Attorney
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9
                Dated: November 28, 2007                     /s/ Johnny L. Griffin, III
10                                                          JOHNNY L. GRIFFIN, III
                                                            Attorney for Defendant
11                                                          Gurminder Singh
12
                Dated: November 28, 2007                      /s/ Mark J. Reichel3__
13                                                            MARK J. REICHEL
                                                              Attorney for Defendant
14                                                            Jaswant Kaur

15              Dated: November 28, 2007                     /s/ John P. Brennan___
                                                            JOHN P. BRENNAN
16                                                          Attorney for Defendant
                                                            Sucha Singh
17
                Dated: November 28, 2007                    /s/ Jay Griener_____
18
                                                           JAY GRIENER
19
                                                           Attorney for Defendant
                                                           Arjinder Singh
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         Mary Grad telephonically authorized attorney Johnny L. Griffin, III to sign this Stipulation on her behalf.
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     3
       Mark Reichel, John P. Brennan and Jay Griener telephonically authorized attorney Johnny L. Griffin, III to sign
     this Stipulation on their behalf.
               Case 2:06-cr-00238-KJM Document 74 Filed 11/28/07 Page 3 of 3


1                                            ORDER
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             Based on the stipulation of the parties and good cause apparent therein, the Court
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     hereby finds that the failure to grant a continuance in this case would deny Defendants
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     counsel reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence. The Court specifically finds that the ends of justice are served by the
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     granting of such continuance and outweigh the interests of the public and the Defendants in
7
     a speedy trial.
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             Based on these findings and pursuant to the stipulation of the parties, the Court
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     hereby adopts the stipulation of the parties in its entirety as its order.
10

11
             IT IS SO ORDERED.
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     Dated: November 28, 2007
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                                                 __________________________________
15                                               MORRISON C. ENGLAND, JR
                                                 UNITED STATES DISTRICT JUDGE
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